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      Exh.     Certifying          Source of
                                                    Document Identifiers Certification
      No.       Entity             Records
                                                                           Attested
      20-    AT&T Inc.        AT&T Inc.             ATT-ATR001-          902(11) and
      11                                            00000001; ATT-       902(13)
                                                    ATR002-00000001;
                                                    ATT-ATR006-
                                                    00000001 – ATT-
                                                    ATR006-00014552;
                                                    ATT-ATR007-
                                                    00000001 – ATT-
                                                    ATR007-00000200;
                                                    ATT-ATR008-
                                                    00000001 – ATT-
                                                    ATR008-00000007;
      20-2   AT&T Inc.        AT&T Inc.             ATT-ATR003-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR003-00000006;
      20-3   AT&T Inc.        AT&T Inc.             ATT-ATR004-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR004-00025554;
      20-4   AT&T Inc.        AT&T Inc.             ATT-ATR005-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR005-00001964;
      20-5   AT&T Inc.        AT&T Inc.             ATT-ATR009-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR009-00010442;
      20-6   AT&T Inc.        AT&T Inc.             ATT-ATR010-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR010-00000417;
      20-7   AT&T Inc.        AT&T Inc.             ATT-ATR011-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR011-00015462;
      20-8   AT&T Inc.        AT&T Inc.             ATT-ATR012-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR012-00060464;
      20-9   AT&T Inc.        AT&T Inc.             ATT-ATR013-          902(11) and
                                                    00000001 – ATT-      902(13)
                                                    ATR013-00007826


  1
   These exhibits start at 20-1 to be consistent with the exhibit numbering for the Notice.
  Toll record certifications are numbered in the 20s, and 902(14) certifications relating to
  extractions are numbered in the 30s.
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   Exh.      Certifying          Source of
                                                   Document Identifiers Certification
   No.        Entity             Records
                                                                          Attested
   21-1   CenturyLink Inc.   CenturyLink Inc.      CENLINK-ATR001-      902(11)
                                                   00000001 –
                                                   CENLINK-ATR001-
                                                   00000010
   22-1   Cellular South,    Cellular South Inc.   CSPIRE-ATR001-       902(11)
          Inc. d/b/a C       (C Spire)             00000001 – CSPIRE-
          Spire                                    ATR001-00000015
   22-2   Cellular South,    Cellular South Inc.   CSPIRE-ATR002-       902(11)
          Inc. d/b/a C       (C Spire)             00000001 – CSPIRE-
          Spire                                    ATR002-00000013
   23-1   Charter            Charter               CHARTER-ATR001-      902(11) and
          Communications     Communications        00000001 –           902(13)
          Inc.               Inc.                  CHARTER-ATR001-
                                                   00000004
   24-1   Comcast Cable  Comcast Corp.             COMCAST-ATR001-      902(11) and
          Communications                           00000001 –           902(13)
          Inc.                                     COMCAST-ATR001-
                                                   00000013
   24-2   Comcast Cable  Comcast Corp.             COMCAST-ATR002-      902(11)
          Communications                           00000001 –
          Inc.                                     COMCAST-ATR002-
                                                   00000008
   25-1   T-Mobile US Inc. T-Mobile US Inc.        TMOBILE-ATR001-      902(11)
                                                   00000001 –
                                                   TMOBILE-ATR001-
                                                   00000011
   26-1   Verizon            Verizon/Cellco        VERIZON-ATR001-      902(11) and
                             Partnership d/b/a     00000001 –           902(13)
                             Verizon Wireless      VERIZON-ATR001-
                                                   00000011;
   26-2   Verizon            Verizon/Cellco        VERIZON-ATR002-      902(11) and
                             Partnership d/b/a     00000001 –           902(13)
                             Verizon Wireless      VERIZON-ATR002-
                                                   00000148;
   26-3   Verizon            Verizon/Cellco        VERIZON-ATR003-      902(11) and
                             Partnership d/b/a     00000001 –           902(13)
                             Verizon Wireless      VERIZON-ATR003-
                                                   00000080




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                                                                       902
   Exh.     Certifying        Source of
                                              Document Identifiers Certification
   No.       Entity           Records
                                                                     Attested
   26-4   Verizon         Verizon/Cellco      VERIZON-ATR004-      902(11) and
                          Partnership d/b/a   00000001 –           902(13)
                          Verizon Wireless    VERIZON-ATR004-
                                              00000812
   26-5   Verizon         Verizon/Cellco      VZW-ATR001-          902(11) and
                          Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR001-00012581;
                                              VZW-ATR004-
                                              00000001 – VZW-
                                              ATR004-00012593;
                                              VZW-ATR005-
                                              00000001 – VZW-
                                              ATR005-00006489;
   26-6   Verizon         Verizon/Cellco      VZW-ATR002-          902(11) and
                          Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR002-00000012
   26-7   Verizon         Verizon/Cellco      VZW-ATR003-          902(11) and
                          Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR003-00000023
   26-8   Verizon         Verizon/Cellco      VZW-ATR009-          902(11) and
                          Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR009-00001564
   26-9   Verizon         Verizon/Cellco      VZW-ATR010-          902(11) and
                          Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR010-00001491
   26-    Verizon         Verizon/Cellco      VZW-ATR011-          902(11) and
   10                     Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR011-00005366
   26-    Verizon         Verizon/Cellco      VZW-ATR013-          902(11) and
   11                     Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR013-00000880
   26-    Verizon         Verizon/Cellco      VZW-ATR014-          902(11) and
   12                     Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR014-00001431
   26-    Verizon         Verizon/Cellco      VZW-ATR015-          902(11) and
   13                     Partnership d/b/a   00000001 – VZW-      902(13)
                          Verizon Wireless    ATR015-00001756
   27-1   Verizon         Verizon Business    VZB-ATR001-          902(11) and
          Business                            00000001 – VZB-      902(13)
                                              ATR001-00000011

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   Exh.      Certifying          Source of
                                                 Document Identifiers Certification
   No.        Entity             Records
                                                                        Attested
   28-1   Windstream         Windstream          WINDSTREAM-          902(11) and
          Services LLC                           ATR001-00000001 –    902(13)
                                                 WINDSTREAM-
                                                 ATR001-00000085
   28-2   Windstream         Windstream          WINDSTREAM-          902(11)
          Services LLC                           ATR002-00000001 –
                                                 WINDSTREAM-
                                                 ATR002-00000003
   28-3   Windstream         Windstream          WINDSTREAM-          902(11) and
          Services LLC                           ATR003-00000001 –    902(13)
                                                 WINDSTREAM-
                                                 ATR003-00000010
   30-1   Transperfect       Apple iPhone 8+     TY-001642732 – TY-   902(14)
                             (A1897) owned by    001642738; TY-
                             Carl Pepper         001670902; TY-
                                                 001632749; TY-
                                                 001643172; TY-
                                                 001645464 – TY-
                                                 001645465; TY-
                                                 001670903 – TY-
                                                 001670904
   30-1   Transperfect       Apple iTunes        TY-001670902         902(14)
                             backup of 4th
                             generation iPad
                             (P102AP) owned
                             by Carl Pepper
   30-1   Transperfect       Apple iPhone XR   TY-001909367; TY-       902(14)
                             (A191A4) owned by 001909391 – TY-
                             Kelley Davidson   001909394; TY-
                                               001909411
   31-1   Federal Bureau     Apple iPhone 8    ‘Image identifier       902(14)
          of Investigation   (A1863) owned by  356703089926520’
          (FBI) Computer     Scott Brady       (Brady-SW-ATR005-
          Analysis                             00000001)
          Response Team
          (CART)
   31-1   Federal Bureau     Apple iPhone 11     ‘Image identifier     902(14)
          of Investigation   (A2111) owned by    353986101328550’
          (FBI) Computer     Jimmie Little       (Volume
          Analysis                               BR_CHICK_063)


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                                                                         902
   Exh.     Certifying          Source of
                                                Document Identifiers Certification
   No.       Entity             Records
                                                                      Attested
          Response Team
          (CART)
   32-1   Digital Discovery Apple iPhone 5s     IMEI:                   902(14)
                            used by Jason       013852007225294
                            McGuire             Bates: OKFoodsDOJ-
                                                0000538–
                                                OKFoodsDOJ-
                                                0000558
   33-1   Digital Discovery iTunes Backup of    SN:                     902(14)
                            Greg Tench          C76RJ0ZQGRY5
                                                IMEI:
                                                355767076939292
                                                Bates: MJPoultry-
                                                0000000006
   33-2   Digital Discovery iTunes Backup of    SN:                     902(14)
                            Greg Tench          C76RJ0ZQGRY5
                                                IMEI:
                                                355767076939292
                                                Bates: MJPoultry-
                                                0000000006
   33-3   Digital Discovery iTunes Backup of    SN:                     902(14)
                            Greg Tench          C76RJ0ZQGRY5
                                                IMEI:
                                                355767076939292
                                                Bates: MJPoultry-
                                                0000000006
   34-1   ELIJAH           iPhone 6s Model,     Image Identifier EMT-   902(14)
                           A1688 used by Joe    00005605
                           Grendys              Bates: KOCHFOODS-
                                                0000485010,
                                                KOCHFOODS-
                                                0000485057,
                                                KOCHFOODS-
                                                0000485064
   34-1   ELIJAH           Blackberry Bold      Image Identifiers       902(14)
                           9930 ID              EMT-00001744 &
                           A000002615E412       EMT-00005604
                           used by Joe          Bates: KOCHFOODS-
                           Grendys              0000484998
                                                KOCHFOODS-

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   Exh.      Certifying       Source of
                                              Document Identifiers Certification
   No.        Entity          Records
                                                                     Attested
                                              0000485009;
                                              KOCHFOODS-
                                              0000485230 –
                                              KOCHFOODS-
                                              0000485241;
                                              KOCHFOODS-
                                              0000485243 –
                                              KOCHFOODS-
                                              0000485256
   35-1   Consilio        iPhone 8 Plus       IMEI                 902(14)
                          (MQ962) Used by     353009091700587
                          Justin Gay
   35-2   Consilio        iPhone XS mobile    SN: C39XTBX0KPFT        902(14)
                          (MTAL2LL/A) Used    IMEI
                          by Jayson Penn      357201097624152
   35-3   Consilio        Samsung Galaxy      SN:                     902(14)
                          S6 Used by Tim      1215fc5a82540305
                          Stiller             ESN
                                              990007037762207
   35-3   Consilio        Samsung Galaxy      SN RF8JA05XQNY          902(14)
                          S8 Used by Tim      IMEI
                          Stiller             359031081440259
   35-4   Consilio        iPhone 6s (N71AP)   SN: C7JR50VRGRYD        902(14)
                          Used by Brenda      IMEI:
                          Ray                 355690077385259
   35-5   Consilio        Samsung Galaxy      ESN                     902(14)
                          S6 Used by Tim      990007037762207
                          Stiller             Bates: See Bates
                                              ranges included in
                                              Consilio Certificate.
   35-5   Consilio        Samsung Galaxy      IMEI:                   902(14)
                          S8 Used by Tim      359031081440259
                          Stiller             Bates: PILGRIMS-
                                              DOJ-0000925994,
                                              PILGRIMS-DOJ-
                                              0000926072,
                                              PILGRIMS-DOJ-
                                              0000926097, PI
                                              LGRIMS-DOJ-
                                              0000931622,


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   Exh.      Certifying       Source of
                                              Document Identifiers Certification
   No.        Entity          Records
                                                                    Attested
                                              PILGRIMS-DOJ-
                                              0000931623,
                                              PILGRIMS-DOJ-
                                              0000931625,
                                              PILGRIMS-DOJ-
                                              0000931626,
                                              PILGRIMS-DOJ-
                                              0000931627,
                                              PILGRIMS-DOJ-
                                              0000931629
   35-5   Consilio        iPhone XS           SN: C39XTBX0KPFT
                          (MTAL2) Used by     IMEI
                          Jayson Penn         357201097624152
                                              Bates: PILGRIMS-
                                              DOJ-0000508952,
                                              PILGRIMS-DOJ-
                                              0000509278,
                                              PILGRIMS-DOJ-
                                              00005092 79

   35-5   Consilio        iPhone 7            SN: F72SHK3XHG71        902(14)
                          (MNAJ2LL/A)         Bates: See Bates
                          Operated by         ranges included in
                          Jayson Penn         Consilio Certificate.
   35-5   Consilio        iPhone 6s (N71AP)   SN: C7JR50VRGRYD        902(14)
                          Used by Brenda      IMEI:
                          Ray                 355690077385259
                                              Bates:
                                              PILGRIMS-DOJ-
                                              0000017567 –
                                              PILGRIMS-DOJ-
                                              0000017569,
                                              PILGRIMS-DOJ-
                                              0000017566,
                                              PILGRIMS-DOJ-
                                              0000021196 –
                                              PILGRIMS-DOJ-
                                              0000021204
   35-5   Consilio        iPhone 8 Plus       IMEI                    902(14)
                          (MQ962) Used by     353009091700587
                          Justin Gay          Bates:

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                                                                             902
      Exh.      Certifying         Source of
                                                    Document Identifiers Certification
      No.        Entity            Records
                                                                           Attested
                                                    PILGRIMS-DOJ-
                                                    0000099830 -
                                                    PILGRIMS-DOJ-
                                                    0000104500,
                                                    PILGRIMS-DOJ-
                                                    0000528482 –
                                                    0000528490,
                                                    PILGRIMS-DOJ-
                                                    0004646569 -
                                                    0004652791
      35-    Consilio          iPhone 6             Serial number:       902(14)
      62                       Used by Mikell       DNPPG9TRG5MG
                               Fries                IMEI 35912 10621
                                                    84336
                                                    Bates: CLA_0149779
                                                    Claxton_0181706
      35-6   Consilio          iPad                 Serial number:       902(14)
                               Used by Mikell       DMQP3ACLG5VW
                               Fries                Bates: CLA_0074696
      36-1   FTI Consulting,   iPhone 7             SN: F72SHK3XHG71 902(14)
             Inc.              (MNAJ2LL/A)
                               Operated by
                               Jayson Penn




  2
   Certification 35-6 was not included with the Notice the government filed on October 1,
  2021 (ECF 246). It was provided to Defendants on October 7, 2021.
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                                                        DECLARATION

  ,.DUHQ9DOGH]GHFODUHXQGHUSHQDOW\RISHUMXU\DVIROORZV

  ,DPHPSOR\HGE\&HQWXU\/LQNDQGP\RIILFLDOWLWOHLV6HFXULW\6SHFLDOLVW,9,DPWKHFXVWRGLDQRI UHFRUGVIRUWKH
  GRFXPHQWVGHOLYHUHGWR6SHFLDO$JHQW/D1DUG7D\ORU,DPIDPLOLDUZLWKP\ FRPSDQ\¶VUHFRUGNHHSLQJSUDFWLFHV

  ,FHUWLI\WKDWHDFKRIWKHUHFRUGVDWWDFKHGKHUHWRLVDGXSOLFDWHRIWKHRULJLQDOUHFRUGVLQP\FRPSDQ\¶V FXVWRG\

  ,IXUWKHUFHUWLI\WKDWWKHUHFRUGVHQFORVHGZLWKWKLV'HFODUDWLRQZHUH $ PDGHDWRUQHDUWKHWLPHRIWKH RFFXUUHQFHRIWKH
  PDWWHUVVHWIRUWKE\RUIURPLQIRUPDWLRQWUDQVPLWWHGE\DSHUVRQZLWKNQRZOHGJHRI WKRVHPDWWHUV % NHSWLQWKHFRXUVHRI
  WKHEXVLQHVV¶VUHJXODUO\FRQGXFWHGDFWLYLW\DQG & PDGHE\WKH EXVLQHVV¶VUHJXODUO\FRQGXFWHGDFWLYLW\DVDUHJXODU
  SUDFWLFH

  ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

 ([HFXWHGRQ
 &HQWXU\/LQN&DVH1XPEHU
       \
  
 BBBBBBBBBBBBBB
 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 .DUHQ9DOGH]
 .DUHQ 9DOGH]
 6HFXULW\6SHFLDOLVW,9
 &HQWXU\/LQN
 /DZ(QIRUFHPHQW6XSSRUW7HDP
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            Exhibit 24-2
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                                                                                                          VERIZON SECURITY SUBPOENA COMPLIANCE
                                                                                                                     180 WASHINGTON VALLEY ROAD
                                                                                                                               BEDMINSTER NJ 07921
                                                                                                                 Phone: 888-483-2600 Fax:325-949-6916
  April 22, 2020


  FBI WASHINGTON DC
  601 4TH ST NW
  WASHINGTON DC 20535


  Verizon Case #: 20123482
  Docket / File #: 19-GJ-256

  State of Maryland

  ss:

  City of Baltimore


  I, REBECCA WINTERS, being duly sworn, depose and say:

  I am the custodian of records for Verizon, and in that capacity, I certify that the attached pages of records are true
  and accurate copies of the records created from the information maintained by Verizon in the actual course of
  business. It is Verizon's ordinary practice to maintain such records, and that said records were made
  contemporaneously with the transaction and events stated therein, or within a reasonable time thereafter .


  /s/ REBECCA WINTERS



  Certification following USCS Federal Rules of Evidence Rule 902 & 803.




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            Exhibit 26-3
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 Verizon Case #: 200143053
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            Exhibit 26-7
Case No. 1:20-cr-00152-PAB Document 623-1 filed 10/11/21 USDC Colorado pg 96 of
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            Exhibit 26-8
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Case No. 1:20-cr-00152-PAB Document 623-1 filed 10/11/21 USDC Colorado pg 100 of
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            Exhibit 26-9
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                                                                                                             VERIZON SECURITY SUBPOENA COMPLIANCE
                                                                                                                        180 WASHINGTON VALLEY ROAD
                                                                                                                                   BEDMINSTER NJ 07921
                                                                                                                      Phone: 800-451-5242 Fax:888-667-0028

  September 8, 2020


  DEPT OF JUSTICE ANTITRUST DIVISION
  450 FIFTH ST NW STE 11300
  WASHINGTON DC 20530


  Verizon Case #: 20190277
  Docket / File #: 20-0799
  Targets: 845-837-9495 & 615-351-5491

  State of New Jersey

  ss:

  County of Somerset


  I, MATTHEW SCHRAGER, being duly sworn, depose and say:

  I am the custodian of records for Verizon, and in that capacity, I certify that the attached records are true and
  accurate copies of the records created from the information maintained by Verizon in the actual course of
  business. It is Verizon's ordinary practice to maintain such records, and that said records were made
  contemporaneously with the transaction and events stated therein, or within a reasonable time thereafter .


  /s/ MATTHEW SCHRAGER


  Certification following USCS Federal Rules of Evidence Rule 902 & 803.




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         Exhibit 26-10
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         Exhibit 26-11
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Verizon Wireless Case # 21213367 1              184




                          Matthew Griffin




                                                                          Verizon Wireless

                                                           Subpoena Coordinator




             subscriber, billing, and data usage records for the MDN 540-578-4392
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     03/30/2021                   \S\ Matthew Griffin
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         Exhibit 26-12
Case No. 1:20-cr-00152-PAB Document 623-1 filed 10/11/21 USDC Colorado pg 109 of
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                                                                                           180 WASHINGTON VALLEY ROAD
                                                                                                       BEDMINSTER NJ 07921
                                                                                          Phone: 800-451-5242 Fax:888-667-0028
June 29, 2021


FBI WASHINGTON DC
601 4TH ST NW
WASHINGTON DC 20535


Verizon Case #: 21329337
Docket / File #: Subpoena

State of New Jersey

ss:

County of Somerset


I, LINDA WATSON, being duly sworn, depose and say:

I am the custodian of records for Verizon, and in that capacity, I certify that the attached records are true
and accurate copies of the records created from the information maintained by Verizon in the actual
course of business. It is Verizon's ordinary practice to maintain such records, and that said records were
made contemporaneously with the transaction and events stated therein, or within a reasonable time
thereafter.


/s/ LINDA WATSON

Certification following USCS Federal Rules of Evidence Rule 902 & 803.




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            Exhibit 27-1
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    Subscriber information, call detail logs
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            Exhibit 30-1
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              ,KDYHEHHQHPSOR\HGE\7UDQV3HUIHFWVLQFHZLWKSULRUUROHVDVD6HQLRU
 )RUHQVLF([DPLQHU6HQLRU$QDO\VW )RUHQVLF7HFKQLFLDQDQG6HQLRU/LWLJDWLRQ6XSSRUW
 $QDO\VW,KDYHWHQ\HDUVRIH[SHULHQFHLQWKHSURFHVVLQJRIPRELOHGHYLFHGDWD)RUWKHSDVW
 IRXU\HDUVZLWK7UDQV3HUIHFW,KDYHKDGH[SHULHQFHZLWKWKHIRUHQVLFFROOHFWLRQDQGH[WUDFWLRQRI
 PRELOHGHYLFHGDWDXWLOL]LQJ&HOOHEULWH¶V3K\VLFDO$QDO\]HU3ULRUWRP\ZRUNZLWK7UDQV3HUIHFW
 ,ZDVD/LWLJDWLRQ7HFKQRORJ\6SHFLDOLVWZLWK,QYHQWXV IRUPHUO\7HULV IURPWR
 ZKHUH,XWLOL]HGPXOWLSOHH'LVFRYHU\WRROVWRSURFHVVVHDUFKDQGH[SRUWFOLHQWGDWD


              7KURXJK7UDQV3HUIHFW,ZDVUHWDLQHGE\7\VRQ)RRGV,QFWRSURYLGH
 H[DPLQDWLRQSUHVHUYDWLRQDQGDQDO\VLVRIGRFXPHQWVDQGGDWDIURPGLJLWDOGHYLFHV3XUVXDQWWR
 WKLVUHTXHVW,RYHUVDZWKHFROOHFWLRQH[WUDFWLRQSURFHVVLQJDQGFRS\LQJRIGDWDFROOHFWHGIURP
 QXPHURXVGLJLWDOGHYLFHVXVLQJ&HOOHEULWH3K\VLFDO$QDO\]HU:KHQSURFHVVLQJWKHFROOHFWHG
 GDWDWKHPHWDGDWDIRUWKDWLQIRUPDWLRQZDVSUHVHUYHG$IWHUWKHGDWDZDVSURFHVVHGWKHGDWD
 ZDVSURYLGHGWR$[LQQ9HOWURS +DUNULGHU//3ZKR,XQGHUVWDQGSURGXFHGGDWDWRWKH8QLWHG
 6WDWHV'HSDUWPHQWRI-XVWLFH
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                                      184




              7KURXJKP\WUDLQLQJDQGH[SHULHQFH,DPIDPLOLDUZLWKWKHXVHRIKDVKYDOXHVD
 PHDQVRIGLJLWDOLGHQWLILFDWLRQWKDWLVRIWHQUHSUHVHQWHGDVDVHTXHQFHRIFKDUDFWHUVDQGLV
 SURGXFHGE\DQDOJRULWKPEDVHGXSRQWKHGLJLWDOFRQWHQWVRIDGULYHPHGLXPRUILOH$KDVK
 YDOXHLVHVVHQWLDOO\DGLJLWDOILQJHUSULQWRIHOHFWURQLFHYLGHQFH,IDVLQJOHELWRUFKDUDFWHURQD
 GLJLWDOILOHLVFKDQJHGWKHKDVKYDOXHRIWKHILOHZLOOFKDQJH
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              ,KDYHH[SHULHQFHZLWK&HOOHEULWH3K\VLFDO$QDO\]HUDQG5DLGKDUGGULYH
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 GDWDIURPGLJLWDOGHYLFHVDQG,KDYHUHJXODUO\UHOLHGRQWKHVHWRROVWRFUHDWHDFFXUDWHDQGUHOLDEOH
 DFTXLVLWLRQVRIGLJLWDOGHYLFHVLQWKHSDVW
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              &HOOHEULWH3K\VLFDO$QDO\]HULQFOXGHVDIXQFWLRQWRYHULI\WKHKDVKYDOXHRIDQ
 DFTXLVLWLRQRQFHWKHGDWDKDVEHHQFROOHFWHGDQGSDUVHG$IRUHQVLFH[DPLQHUFDQYDOLGDWHWKDWWKH
 SURFHVVHGGDWDUHSUHVHQWVDQH[DFWFRS\RIWKHDFTXLUHGGDWDVHWE\YHULI\LQJWKHKDVKYDOXH
 ZLWKLQ&HOOHEULWH3K\VLFDO$QDO\]HU&HOOHEULWHDOVRSURYLGHVDQLQGHSHQGHQWPHVVDJHRI
 FRPSOHWLRQLQGLFDWLQJWKDWWKHDFTXLVLWLRQSURFHVVLVFRPSOHWH,NQRZWKHIRUHQVLFDFTXLVLWLRQ
 SURFHVVLVFRPSOHWHDQGDFFXUDWHEHFDXVHWKHIRUHQVLFVRIWZDUHJHQHUDWHGDKDVKRIWKHLPDJH
 DQGEHFDXVHWKHVRIWZDUHH[SUHVVO\LQGLFDWHGWKDWWKHH[WUDFWLRQZDVVXFFHVVIXO7KHUHVXOWLQJ
 IRUHQVLFFROOHFWLRQFDQEHGXSOLFDWHGRQPXOWLSOHKDUGGULYHVXVLQJ5DLGKDUGGULYHPLUURULQJ
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 WKHGLJLWDOFROOHFWLRQVOLVWHGEHORZLQDGGLWLRQWRP\UHJXODUXVHRIWKHWRROVDQGPHWKRGV
 GHVFULEHGDERYH,DPTXDOLILHGWRDXWKHQWLFDWHWKHGLJLWDOFROOHFWLRQVUHIHUHQFHGLQWKLVSDUDJUDSK
 DVWUXHGXSOLFDWHVRIWKHRULJLQDOGDWD
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                                                                  'DWHRI
          2ULJLQDO'HYLFH                                                       'HYLFH,GHQWLILHU       'RFXPHQW,GHQWLILHU
                                                                $FTXLVLWLRQ

     L3KRQH $                                 -XO\          ,0(,                     x 7<
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     *HQHUDWLRQL3DG                                                          
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     L3KRQH $                                 $XJXVW         ,0(,                     x 7<
     RZQHGE\&DUO3HSSHU                                                                x 7<
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     L3KRQH;5 $$                                -XO\          ,0(,                     x   7<
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     'DYLGVRQ                                         2OLYHU*URXS                                     x   7<
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   7KHIRUHQVLFDFTXLVLWLRQRIWKLVGHYLFHZDVFUHDWHGE\WKH2OLYHU*URXSQRW7UDQV3HUIHFW,
 FHUWLI\WKDW7UDQV3HUIHFWH[SRUWHGDWUXHDQGDFFXUDWHGDWDIURPWKHIRUHQVLFFROOHFWLRQFUHDWHGE\
 2OLYHU*URXS
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   7KHIRUHQVLFDFTXLVLWLRQRIWKLVGHYLFHZDVFUHDWHGE\WKH2OLYHU*URXSQRW7UDQV3HUIHFW,
 FHUWLI\WKDW7UDQV3HUIHFWH[SRUWHGDWUXHDQGDFFXUDWHGDWDIURPWKHIRUHQVLFFROOHFWLRQFUHDWHGE\
 2OLYHU*URXS
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            Exhibit 31-1
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                $1(/(&7521,&'(9,&(6725$*(0(',8025),/(
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 ,$QGUHZ.RFK\XQGHUSHQDOW\RISHUMXU\E\WKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDSXUVXDQW

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      ,DPRYHU\HDUVRIDJH,DPFXUUHQWO\HPSOR\HGE\WKH)HGHUDO%XUHDXRI

        ,QYHVWLJDWLRQ )%, &RPSXWHU$QDO\VLV5HVSRQVH7HDP &$57 DQGP\WLWOHLV6SHFLDO

        $JHQW,KDYHEHHQHPSOR\HGE\&$57VLQFH$XJXVW$VD6SHFLDO$JHQWZLWK

        &$57,KDYHH[WHQVLYHWUDLQLQJDQGH[SHULHQFHPDNLQJLPDJHVRIGLJLWDOGHYLFHV

        LQFOXGLQJPRELOHGHYLFHV6SHFLILFDOO\,KDYHDWWHQGHGPRUHWKDQVL[WHHQWUDLQLQJVRQ

        LPDJLQJRIGLJLWDOGHYLFHVLQFOXGLQJWUDLQLQJVE\&HOOHEULWHWKH6\V$GPLQ$XGLW

        1HWZRUNDQG6HFXULW\ 6$16 ,QVWLWXWHDQGWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQ

      3ULRUWR$XJXVW,ZDVZLWKWKH)%,LQLWV0DMRU&\EHU&ULPHV6TXDG7HFKQLFDO

        2SHUDWLRQV6TXDGDQG$VLD&\EHU2SHUDWLRQV8QLW&<'FRQGXFWLQJLQYHVWLJDWLYH

        DFWLYLWLHV,QWKRVHUROHV,FRQGXFWHGLQYHVWLJDWLYHDFWLYLWLHVLQFOXGLQJFRPSXWHU

        VXSSRUWHGRSHUDWLRQVZLWKDFULPLQDOQH[XVRSHUDWLRQDOVXSSRUWVXFKDVHOHFWURQLF

        VXUYHLOODQFHDQGPDLQWDLQLQJH[SHUWLVHRYHUF\EHUWKUHDWV

      ,QWKHFRXUVHRIP\FDUHHU,KDYHPDGHPRUHWKDQWKUHHKXQGUHGLPDJHVRIGLJLWDO

        GHYLFHVLQFOXGLQJLPDJHVRIPRELOHGHYLFHV,KDYHDOVRWUDLQHGRWKHUVLQODZ

        HQIRUFHPHQWUHJDUGLQJLPDJLQJGLJLWDOGHYLFHV,DPD&HOOHEULWH&HUWLILHG3K\VLFDO

        $QDO\VW&HOOHEULWH&HUWLILHG2SHUDWRU*,$&$GYDQFHG6PDUWSKRQH)RUHQVLFV *$6) 

        &HUWLILHGDQG)%,&HUWLILHG)RUHQVLF([DPLQHU,DPDOVRD)%,&$570RELOH'HYLFH

        $XWKRUL]DWLRQ([DPLQHU




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       ,DPTXDOLILHGWRDXWKHQWLFDWHWKHGLJLWDOLPDJHVUHIHUHQFHGLQWKLVSDUDJUDSKEHFDXVHRI

          P\H[SHULHQFHDQGWUDLQLQJDQGEHFDXVH,FUHDWHGDQGKDGSHUVRQDOLQYROYHPHQWLQWKH

          FUHDWLRQRIHDFKRIWKHGLJLWDOLPDJHVOLVWHGEHORZ


                                                     'DWHRI
       2ULJLQDO'HYLFH                  6RXUFH                                ,PDJH,GHQWLILHU
                                                      ,PDJH
$SSOHL3KRQH $ VHULDO     6HDUFK:DUUDQW          
QXPEHU))0:.-&&                ([HFXWHGLQ
 %HORQJLQJWR6FRWW%UDG\          +XQWVYLOOH
                                    $ODEDPD
$SSOHL3KRQH $ VHULDO 6HDUFK:DUUDQW  
QXPEHU*1=41-             ([HFXWHGLQ
 %HORQJLQJWR-LPPLH/LWWOH     )RUW:RUWK
                                 7H[DV
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       7KH&RPPLWWHHQRWHVWR)HGHUDO5XOHRI(YLGHQFH  GHILQHDKDVKYDOXHDV³D

          QXPEHUWKDWLVRIWHQUHSUHVHQWHGDVDVHTXHQFHRIFKDUDFWHUVDQGLVSURGXFHGE\DQ

          DOJRULWKPEDVHGXSRQWKHGLJLWDOFRQWHQWVRIDGULYHPHGLXPRUILOH,IWKHKDVKYDOXHV

          IRUWKHRULJLQDODQGFRS\DUHGLIIHUHQWWKHQWKHFRS\LVQRWLGHQWLFDOWRWKHRULJLQDO,IWKH

          KDVKYDOXHVIRUWKHRULJLQDODQGFRS\DUHWKHVDPHLWLVKLJKO\LPSUREDEOHWKDWWKH

          RULJLQDODQGFRS\DUHQRWLGHQWLFDO7KXVLGHQWLFDOKDVKYDOXHVIRUWKHRULJLQDODQGFRS\

          UHOLDEO\DWWHVWWRWKHIDFWWKDWWKH\DUHH[DFWGXSOLFDWHV´

       7KURXJKP\WUDLQLQJDQGH[SHULHQFH,DPIDPLOLDUZLWKWKHXVHRIKDVKYDOXHVDVGHILQHG

          DERYH,IDVLQJOHELWRUFKDUDFWHURQDGLJLWDOILOHLVFKDQJHGWKHKDVKYDOXHRIWKHILOH

          ZLOOFKDQJH%DVHGRQP\WUDLQLQJH[SHULHQFHDQGP\UHJXODUXVHRIWKHWRROVDQG

          PHWKRGVRILPDJLQJGHVFULEHGEHORZ,NQRZWKHLPDJHVLGHQWLILHGLQWKHWDEOHDERYHDUH

          WUXHGXSOLFDWHVRIWKHRULJLQDOGHYLFHV



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      2Q6HSWHPEHULQUHVSRQVHWRD0RELOH'HYLFH8QORFN6HUYLFH 0'86 UHTXHVW

         ,REWDLQHGDIXOOILOHV\VWHPH[WUDFWLRQRIWKHGHYLFHVLGHQWLILHGDERYHXVLQJ

         VSHFLDOL]HGIRUHQVLFVRIWZDUHFDOOHG*UD\.H\269HUVLRQ,XVHG&HOOHEULWH

         3K\VLFDO$QDO\]HUWRFUHDWHDUHSRUWWRUHYLHZWKHGDWD,QP\WUDLQLQJDQGH[SHULHQFH

         WKHVHIRUHQVLFVRIWZDUHFUHDWHDQDFFXUDWHDQGUHOLDEOHLPDJHRIGLJLWDOGHYLFHVDQG,

         KDYHUHJXODUO\UHOLHGRQWKHVHWRROVWRFUHDWHDFFXUDWHDQGUHOLDEOHLPDJHVRIGLJLWDO

         GHYLFHVLQWKHSDVW

      )XUWKHUPRUH,NQRZWKDWWKHIRUHQVLFFRS\LQJSURFHVVZDVFRPSOHWHDQGDFFXUDWH

         EHFDXVHWKHIRUHQVLFVRIWZDUHJHQHUDWHGDKDVK i.eGLJLWDOILQJHUSULQW RIWKHLPDJHDQG

         EHFDXVHWKHVRIWZDUHH[SUHVVO\LQGLFDWHGWKDWWKHH[WUDFWLRQZDVVXFFHVVIXO$GGLWLRQDOO\

         ,YHULILHGWKHKDVKDWVHYHUDOSRLQWVGXULQJP\H[DPLQDWLRQ

      :KHQFROOHFWLQJWKHGDWDIURPWKRVHGHYLFHVWKHPHWDGDWDIRUWKDWLQIRUPDWLRQZDV

         SUHVHUYHG$IWHU,FROOHFWHGWKHLQIRUPDWLRQD*%9HUEDWLPEOXUD\GLVFFRQWDLQLQJD

         0DVWHU&RS\RIWKHDVVRFLDWHG)XOO)LOH6\VWHPLPDJHDQG8)'55HSRUWIRUHDFKGHYLFH

         ZDVFUHDWHG$ZRUNLQJFRS\RIHDFKGHYLFHZDVVHQWWRWKHFDVHDJHQW

     ,IXUWKHUVWDWHWKDWWKLVFHUWLILFDWLRQLVLQWHQGHGWRVDWLVI\  RIWKH)HGHUDO5XOHVRI

         (YLGHQFH

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        8QGHUWKHSHQDOWLHVRISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHV,FHUWLI\WKDWWKHDERYH

 LVFRPSOHWHWUXHDQGFRUUHFWDQGLIFDOOHGDVDZLWQHVV,FRXOGFRPSHWHQWO\WHVWLI\WKHUHWR

        ([HFXWHGRQWKLVBBBGD\RI6HSWHPEHUDWBBDPBBBBB

                                                                 BBBBBBBBBBBBBBBBBBBBB
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                                                                                       $QGUHZ.RFK\

                                                                                         6SHFLDO$JHQW




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            Exhibit 33-3
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           CERTIFICATE OF AUTHENTICITY OF DATA COPIED FROM
      AN ELECTRONIC DEVICE, STORAGE MEDIUM, OR FILE PURSUANT TO
                   FEDERAL RULES OF EVIDENCE 902(14)

         I, Nghi Tran, under penalty of perjury by the laws of the United States of America

 pursuant to 28 U.S.C. § 1746, hereby declare and certify as follows:

         1.      I am over 18 years of age. I am currently employed by Digital Discovery as a Lab

 Director. I have more than 11 years of technical experience, including in forensic collection and

 preservation of data from electronic devices. Digital Discovery specializes in the discovery,

 collection, investigation, and production of electronic information for litigation matters.

         2.      I am a Licensed Private Investigator with the State of Texas, am a Certified

 Forensic Examiner, and have a Cellebrite Certified Smartphone Analysis certification.

         3.      I have experience with the forensic collection and extraction of mobile device

 data utilizing Cellebrite and Tenorshare.

         4.      Through Digital Discovery, I was retained by Mar-Jac Poultry, Inc., to provide

 examination, preservation, and analysis of data from digital devices. Pursuant to this request, I

 assisted in the extraction, processing, and copying of data collected from digital devices, using

 Cellebrite and Tenorshare. When processing the data, the metadata for that information was

 preserved. After the data was processed, the data was provided to Catalyst.

         5.      Through my training and experience, I am familiar with the use of hash values, a

 means of digital identification that is often represented as a sequence of characters and is

 produced by an algorithm based upon the digital contents of a drive, medium, or file. A hash is

 essentially a digital fingerprint of electronic evidence. If a single bit or character on a digital file

 is changed, the hash value of the file will change.




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        6.      I have experience with Cellebrite and Tenorshare. In my training and experience,

 these forensic software tools create accurate and reliable images of digital devices, and I have

 regularly relied on these tools to create accurate and reliable images of digital devices in the past.

        7.      Cellebrite Physical Analyzer and Tenorshare include an automated function to

 generate an MD5 hash value immediately upon the collection of a digital device and when

 creating copies of digital devices. I know the forensic copying process was complete and

 accurate because the forensic software generated a hash of the image and because the software

 expressly indicated that the extraction was successful.

        8.      Based on my training, experience, involvement in processing the digital image

 below, and my regular use of the tools and methods of imaging described above, I am qualified

 to authenticate the digital image referenced in this paragraph as a true and accurate duplicate of

 the original data:

      Original Device           Date of Image          Image Identifier              Document Identifier

  iTunes backup of Greg       6/9/2018              SN:                             x   MJPoultry-
  Tench                                             C76RJ0ZQGRY5                        0000000006

                                                    IMEI:
                                                    355767076939292



        9.      I further state that this certification is intended to satisfy Rule 902(14) of the

 Federal Rules of Evidence.

        Under the penalties of perjury under the laws of the United States, I certify that the above

 is complete, true, and correct, and if called as a witness, I could competently testify thereto.



        Executed on this __20____ day of September, 2021 at _3:30 PM________.


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                                             _________________________________

                                                                     Nghi Tran
                                                                   Lab Director




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                CERTIFICATE OF AUTHENTICITY OF DATA COPIED FROM
                 AN ELECTRONIC DEVICE, STORAGE MEDIUM, OR FILE

           I, Andrew Reisman, under penalty of perjury by the laws of the United States of America

 pursuant to 28 U.S.C. § 1746, hereby declare and certify as follows:

           1.     I am over 18 years of age. I am currently the Chief Executive Officer (“CEO”) of

 ELIJAH, specializing in digital forensics, cybersecurity, and legal technology services. I have

 been CEO of ELIJAH since 2003.

           2.     I am a licensed Private Investigator in Florida, Nevada, and Texas, and a licensed

 Professional Investigator in Michigan.

           3.     I have 18 years of experience in digital forensics, and have testified as an expert

 in over a dozen hearings and trials during the past ten years.

           4.     I have experience with the forensic collection, extraction, and analysis of digital

 device data utilizing Cellebrite Universal Forensic Extraction Device and Cellebrite Physical

 Analyzer (collectively “Cellebrite”).

           5.     Koch Foods retained ELIJAH to perform digital forensic services, including

 creating forensic images of smart phones using Cellebrite, and extracting associated data such as

 text messages stored thereon. The forensic imaging process preserves metadata so that specified

 metadata fields reliably can be produced with associated responsive data in the process of

 extraction, review and production. My understanding is that K&L Gates LLP produced certain

 responsive documents to the United States Department of Justice, some of which are identified

 herein.

           6.     I have reviewed the documents identified in the “Document Identifier” section

 below, compared them against the associated forensic images, and having done so can confirm
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 that the below Document Identifiers accurately represent associated data extracted from the

 original devices:

      Original Device         Date of Image         Image Identifier            Document Identifier

  iPhone 6S, Model          11/18/2019           EMT-00005605                  x   KOCHFOODS-
  A1688, MKRY2LL/A,                                                                0000485010
  S/N F18QLG2BGRY9,                                                            x   KOCHFOODS-
  used by Joe Grendys                                                              0000485057
                                                                               x   KOCHFOODS-
                                                                                   0000485064
  Blackberry Bold 9930      10/14/2016 &         EMT-00001744 &                x   KOCHFOODS-
  ID A000002615E412,        11/18/2019           EMT-00005604                      0000484998
  used by Joe Grendys                                                          x   KOCHFOODS-
                                                                                   0000484999
                                                                               x   KOCHFOODS-
                                                                                   0000485000
                                                                               x   KOCHFOODS-
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                                                               x   KOCHFOODS-
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                                                                                   x   KOCHFOODS-
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                                                                                       0000485260


        Under the penalties of perjury under the laws of the United States, I certify that the above

 is complete, true, and correct, and if called as a witness, I could competently testify thereto.



        Executed on this 22nd day of September, 2021 at 2950 Glades Circle Suite 3, Weston, FL

        .




                                                Andrew Reisman
                                                Chief Executive Officer




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            Exhibit 35-3
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           CERTIFICATE OF AUTHENTICITY OF DATA COPIED FROM
      AN ELECTRONIC DEVICE, STORAGE MEDIUM, OR FILE PURSUANT TO
                   FEDERAL RULES OF EVIDENCE 902(14)

        I, Jason Amis, under penalty of perjury by the laws of the United States of America

 pursuant to 28 U.S.C. § 1746, hereby declare and certify as follows:

        1.      I am over 18 years of age. I am currently employed by Consilio LLC (“Consilio”)

 as a Director. I have been employed by Consilio since 2018. Consilio specializes in the

 discovery, collection, investigation, and production of electronic information for litigation

 matters.

        2.      At Consilio, I am responsible for forensic data collections and forensic analysis of

 data from digital mobile devices and other data sources. I also supervise individuals who

 perform forensic data collections and forensic analysis of data from digital mobile devices. Prior

 to my employment with Consilio, I was a Senior Manager of Data Forensics with Advanced

 Discovery. I specialize in Data Forensics and am responsible for computer forensic

 investigations and electronic discovery requests for legal and corporate clients, using proprietary

 methodologies and cutting-edge forensic tools. I provide strategic, consultative guidance to

 corporate security managers, attorneys, and litigation support firms throughout the course of

 complex engagements encompassing forensic acquisition, analysis, investigation, and reporting.

        3.      I have six years of experience in the processing of mobile data, including

 experience with the forensic collection and preservation of digital mobile device data utilizing

 Cellebrite Physical Analyzer.

        4.      Consilio was retained by Sherman & Howard LLP, counsel to Pilgrim’s Pride

 Corporation, to provide collection, preservation, and reporting of data from digital mobile

 devices. Pursuant to this request, an employee of Consilio’s conducted the collection and



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 preservation of data collected from two digital mobile devices, using Cellebrite Physical

 Analyzer.

        5.      Through my training and experience, I am familiar with the use of hash values, a

 means of digital identification that is represented as a sequence of characters and is produced by

 an algorithm based upon the digital contents of a drive, medium, or file. A hash is essentially a

 digital fingerprint of electronic evidence. If a single bit on a digital file is changed, the hash

 value of the file will change.

        6.      I have experience with Cellebrite Physical Analyzer. In my training and

 experience, this forensic software tool creates accurate and reliable images of digital mobile

 devices, and I have regularly relied on this tool to create accurate and reliable images of digital

 mobile devices in the past.

        7.      Cellebrite Physical Analyzer includes an automated function to generate a

 SHA256 hash value immediately upon the collection of a digital mobile device. I know the

 forensic extraction process was complete and accurate because I reviewed the forensic extraction

 logs along with the collections and the forensic software expressly indicated that the extraction

 was successful and the extraction opened in Cellebrite – Physical Analyzer without error,

 displaying expected content. Cellebrite Physical Analyzer leverages the iTunes backup protocol

 to create a copy of the committed SQLite databases containing this information, including the

 underlying data and metadata. The underlying data and metadata could include information,

 such as the time a message was sent, or call received.

        8.      Based on my training, experience, and involvement in collecting and preserving

 digital mobile devices, and my regular use of the tools and methods of imaging described above,




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            Exhibit 35-4
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              CERTIFICATE OF AUTHENTICITY OF DATA COPIED FROM
         AN ELECTRONIC DEVICE, STORAGE MEDIUM, OR FILE PURSUANT TO
                      FEDERAL RULES OF EVIDENCE 902(14)

           I, Jeven Adami, under penalty of perjury by the laws of the United States of America

   pursuant to 28 U.S.C.    1746, hereby declare and certify as follows:

           1.     I am over 18 years of age. I am currently employed by Consilio LLC as a Senior

   Manager in the Digital Forensics & Expert Services department I have been employed by

   Consilio (formerly Huron Consulting Group) since 2011. Consilio specializes in the discovery,

   collection, investigation, and production of electronic information for litigation matters.

           2.     I have over 9 years of experience in the collection and analysis of digital devices,

   and have conducted collections and analysis of over 500 mobile devices.

           3.     In November 2019, I attended GIAC SANS 585 training, which focused on

   mobile device acquisition and analysis.

           4.     I have experience with the forensic collection and extraction of digital device data

   utilizing Oxygen Forensic Detective, Cellebrite UFED Touch, Cellebrite 4PC, and Cellebrite

   Physical Analyzer.

          5.      Consilio was retained by Claxton Poultry Farms to provide examination,

   preservation, and analysis of data from multiple digital devices. Pursuant to this request, I and

   other Consilio employees conducted collections in conjunction with a Claxton IT consultant and

   otherwise performed the extraction, processing, and copying of data collected from multiple

   digital devices, using Apple iTunes backups, Oxygen Forensic Detective, Cellebrite UFED

   Touch, Cellebrite 4PC, and Cellebrite Physical Analyzer. When processing the data, the

   metadata for the information was preserved. After the data was processed, the data was provided

   to Winston & Strawn LLP, who I understand produced certain of the data to plaintiffs in a civil



                                                    1
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    case styled, In re Broiler ChickenAntitrust Litigation, Case No. 16-cv-08637 (N.D. Ill.) and

   certain of the data to the United States Department of Justice

           6.      Through my training and experience, I am familiar with the use of hash values, a

   means of digital identification that is often represented as a sequence of characters and is

   produced by an algorithm based upon the digital contents of a drive, medium, or file. A hash is

   essentially a digital fingerprint of electronic evidence or in other words a umque mathematic

   value identifying the file's content. If a single bit or character within the digital file is changed,

   the hash value of the file will change.

           7.      I have experience with Oxygen Forensic Detective, Cellebrite UFED Touch,

   Cellebrite 4PC, and Cellebrite Physical Analyzer. In my trarmng and experience, these forensic

   software tools create accurate and reliable digital forensic images of digital devices, and I have

   regularly relied on these tools to create accurate and reliable images of digital devices in the past

           8.     Cellebrite Physical Analyzer includes an automated function to generate an MD5

   hash value immediately upon the collection of a digital device and when creating copies of

   digital devices. I know the forensic collection processes completed successfully and accurately

   because the forensic software generated a hash of the images and because the software expressly

   indicated that the extractions were successful.

          9.      Based on my framing, experience, involvement in processing the forensic image

   files below, and my regular use of the tools and methods of imaging described above, I am

   qualified to authenticate that the documents identified below were derived from the forensic

   images of the "Original Devices" referenced below in this paragraph as containing true and

  accurate representations of the original data:

       Original Device               Date of               DeviceIMEI                  DocumentIdentifier
                                    Collection

                                                     2
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    iPhone 6 (serial            4/24/2018               35923 10621 84336        CLA 0149779
    number:                                                                      Claxton 0181706
    DNPPG9TRG5MG)
    stated as used by Mikell
    Fries
    iPad (serial number:     4/24/2018                  n/a                      CLA 0074696
    DMQP3ACLG5VW)
    stated as used by Mikell
    Fries



            Under the penalties of perjury under the laws of the United States, I certify that the above

   is complete, true, and correct, and if called as a witness, I could competently testify thereto.



            Executed on this 5th day of October, 2021 at




                                                  Jeven Adam
                                                  Senior     ger, Digital Forensics & Expert
                                                  Services




                                                    3
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            Exhibit 36-1
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                                      184




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 )UDQFLVFRIRUHQVLFODEV)7,VSHFLDOL]HVLQWKHGLVFRYHU\FROOHFWLRQLQYHVWLJDWLRQDQG

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 ,QIUDVWUXFWXUHDQG&RPSXWHU)RUHQVLFVIRU,16<1&&RQVXOWLQJ*URXS,QF

                ,KDYHRYHUHOHYHQ\HDUVRIH[SHULHQFHLQWKHSURFHVVLQJRIPRELOHGHYLFHGDWD

 DQGKDYHH[SHULHQFHZLWKWKHIRUHQVLFFROOHFWLRQDQGH[WUDFWLRQRIPRELOHGHYLFHGDWDXWLOL]LQJ

 &HOOHEULWH¶V3K\VLFDO$QDO\]HU

                7KURXJK)7,,ZDVUHWDLQHGE\3LOJULP¶V3ULGH&RUSRUDWLRQWRSURYLGH

 H[DPLQDWLRQSUHVHUYDWLRQDQGDQDO\VLVRIGDWDIURPDGLJLWDOGHYLFH3XUVXDQWWRWKLVUHTXHVW,

 FRQGXFWHGWKHFROOHFWLRQIURPRQHGLJLWDOGHYLFHXVLQJ&HOOHEULWH3K\VLFDO$QDO\]HU$IWHUWKH

 GDWDZDVFROOHFWHGWKHGDWDZDVSURYLGHGWR:HLO*RWVKDO 0DQJHV//3 ³:HLO´ DQG,

 XQGHUVWDQGWKDW:HLODQGRULWVFRFRXQVHODW.DVRZLW]%HQVRQ7RUUHV//3SURGXFHGFHUWDLQRI

 WKHGDWD,FROOHFWHGWRWKH8QLWHG6WDWHV'HSDUWPHQWRI-XVWLFH

                7KURXJKP\WUDLQLQJDQGH[SHULHQFH,DPIDPLOLDUZLWKWKHXVHRIKDVKYDOXHVD

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                                      184




 HVVHQWLDOO\DGLJLWDOILQJHUSULQWRIHOHFWURQLFHYLGHQFH,IDVLQJOHELWRUFKDUDFWHURQDGLJLWDOILOH

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                ,KDYHH[SHULHQFHZLWK&HOOHEULWH3K\VLFDO$QDO\]HU,QP\WUDLQLQJDQG

 H[SHULHQFHWKLVIRUHQVLFVRIWZDUHFUHDWHVDQDFFXUDWHDQGUHOLDEOHLPDJHRIGLJLWDOGHYLFHVDQG,

 KDYHUHJXODUO\UHOLHGRQWKLVWRROWRFUHDWHDFFXUDWHDQGUHOLDEOHLPDJHVRIGLJLWDOGHYLFHVLQWKH

 SDVW

                &HOOHEULWH3K\VLFDO$QDO\]HULQFOXGHVDQDXWRPDWHGIXQFWLRQWRJHQHUDWHD

 6+$KDVKYDOXHLPPHGLDWHO\XSRQWKHFROOHFWLRQRIDGLJLWDOGHYLFH,NQRZWKHIRUHQVLF

 FROOHFWLRQSURFHVVZDVFRPSOHWHDQGDFFXUDWHEHFDXVHWKHIRUHQVLFVRIWZDUHH[SUHVVO\LQGLFDWHG

 WKDWWKHSURFHVVZDVVXFFHVVIXODQGWKHGDWDRSHQHGLQ&HOOHEULWH3K\VLFDO$QDO\]HUZLWKRXW

 HUURUGLVSOD\LQJH[SHFWHGFRQWHQWVXFKDVWH[WPHVVDJHVDQGFDOOORJV&HOOHEULWH3K\VLFDO

 $QDO\]HUOHYHUDJHVWKHL7XQHVEDFNXSSURWRFROWRFUHDWHDFRS\RIWKHFRPPLWWHG64/LWH

 GDWDEDVHVFRQWDLQLQJWKLVLQIRUPDWLRQLQFOXGLQJWKHXQGHUO\LQJGDWDDQGPHWDGDWD7KH

 XQGHUO\LQJGDWDDQGPHWDGDWDFRXOGLQFOXGHLQIRUPDWLRQVXFKDVWKHWLPHDPHVVDJHZDVVHQWRU

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                %DVHGRQP\WUDLQLQJH[SHULHQFHLQYROYHPHQWLQSURFHVVLQJWKHGLJLWDOLPDJH

 EHORZDQGP\UHJXODUXVHRIWKHWRROVDQGPHWKRGVRILPDJLQJGHVFULEHGDERYH,DPTXDOLILHG

 WRDXWKHQWLFDWHWKHGLJLWDOLPDJHUHIHUHQFHGLQWKLVSDUDJUDSKDVDWUXHDQGDFFXUDWHGXSOLFDWHRI

 WKHRULJLQDOGDWD




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                                      184




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        ([HFXWHGRQWKLVWKGD\RI6HSWHPEHUDW6LPL9DOOH\&DOLIRUQLD

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